                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                                 Cr. No. 04-888 LH (ACE)

DAVID PETTIGREW,

              Defendant.

                    DEFENDANT’S BRIEF ON ISSUE OF INTENT

       The defendant, David Pettigrew, through his counsel, Michael A. Keefe, Assistant

Federal Public Defender, files the following brief to address the issue of intent as it relates

to the two counts of the Indictment charging violations of 18 U.S.C. § 113(a)(6) assault

resulting in serious bodily injury.

       ASSAULT RESULTING IN SERIOUS BODILY INJURY IS A
       GENERAL INTENT CRIME

1.     Assault resulting in serious bodily injury under 18 U.S.C. § 113(a)(6) is a crime of

       general intent. U.S. v. Benally, 146 F.3d 1232, 1237 (10th Cir. 1998)(stating that

       “assault resulting in serious bodily injury... is a general intent crime... The resulting

       serious bodily injury coupled with a general intent to assault is sufficient to satisfy the

       elements of [18 U.S.C. § 113]”). The requisite of intent to satisfy conviction is the

       intent to assault the person of another. See Tenth Circuit Proposed Pattern Jury

       Instruction No. 2.09 (2004)(instructing upon 18 U.S.C. § 111, and stating that “the
     term ‘forcible assault’ means any intentional attempt or threat to inflict injury upon

     someone else when coupled with an apparent present ability to do so...); 8 th Circuit

     Jury Model Jury Instruction 6.18.111(instructing upon 18 U.S.C. § 111, and stating

     that “an ‘assault’ is any intentional and voluntary attempt or threat to do injury to the

     person of another...”). Intent to assault is thus an essential element of the offense

     which must be proven to the jury beyond a reasonable doubt.

2.   The essential element of intent cannot be established simply by showing that the

     defendant was driving while intoxicated at the time of the accident. When an accident

     results from the conduct of a person who drives while under the influence, the

     accident may only be characterized as an accidental, “unintended result.” U.S. v.

     Lucio-Lucio, 347 F.3d 1202, 1206 (10 th Cir. 2003)(holding that “a drunk driver is

     reckless of the risk that he will accidentally cause harm. Whatever the precise degree

     of intent necessary to separate violent conduct from conduct that leads to harmful

     consequences, it seems plain that DWI resulting in an accident - which, when it

     happens is a purely unintended result - falls into the latter category.” See e.g. U.S. v.

     Rogers, 371 F.3d 2025 (10th Cir. 2004.) The court also stated in U.S. v. Rogers that

     “by contrast, a drunk driver typically does not mean to cause an accident at all, and

     can hardly be said to ‘commit’ the resulting violence in the same way that a burglar

     does.” Although the drunk driver recklessly risks harming others, the risk is not that

     this will happen intentionally (as in burglary). Rather, it is that the impairment of the



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     driver’s faculties will result in negligent driving, which in turn will result in an

     accident.”

3.   “The Due Process Clause protects the accused against convictions except upon proof

     beyond a reasonable doubt of every fact necessary to constitute the crime with which

     he is charged.” In re Winship 90 S.Ct. 1068, 1973 (1970). As a matter of due

     process, the defendant is indisputably entitled “to a jury determination that he is guilty

     of every element of the crime with which he is charged, beyond a reasonable doubt.”

     Apprendi v. New Jersey, 120 S.Ct. 2348, 2356 (2000). The jury cannot make the

     factual determination that the defendant acted with intent where the alleged result of

     the defendant’s act is recognized as purely unintentional as a matter of law.

4.   The government will attempt to present evidence to prove that Mr. Pettigrew was

     driving with a BAC of .24 and that he was driving very slowly across a four lane

     highway before striking the side of the victim’s van. There was no indication that

     either driver had applied their brakes prior to the collision. The government will be

     unable to present any evidence to support a finding that Mr. Pettigrew intended to

     assault anyone involved in the accident.

5.   The government has cited two cases in support of the government’s argument that

     intent is established by voluntary intoxication and the willful operation of a motor

     vehicle while in that state of voluntary intoxication. The two cases the government

     cites are United States v. Loera, 923 F.2d 725 (9 th Cir. 1991) and United States v.



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     Ashley, 255 F.3d 907 (8 th Cir. 2001). In the Loera case, the court held that the

     evidence was sufficient to convince any rational trier of fact that Loera acted willfully

     in consuming alcohol and then driving his truck on the highway in disregard for the

     safety of others in his path. There were additional facts that the court considered in

     that case including Mr. Loera’s truck having faulty brakes and the fact that the M r.

     Loera had several prior DWI convictions. Id. at 727. In addition, the Ashley case also

     contains additional facts not present in Mr. Pettigrew’s case. The court in Ashley

     noted that Ashley not only chose to drive drunk but he also knew the van’s brakes

     didn’t work properly.” The court determined “Ashley’s voluntary act was driving

     under the influence of alcohol in a vehicle with bad brakes knowing that they were

     bad.” Id. at 909. Thus, to satisfy the intent requirement for assault in Loera and

     Ashley more evidence of pre-intoxication conduct was required than simply driving

     while intoxicated.

6.   These decisions in the Eighth and Ninth Circuit rely on different reasoning than the

     Tenth Circuit decisions in Lucio-Lucio and Rogers. The language in those more

     recent Tenth Circuit cases from 2003 and 2004 point to a greater requirement when

     it comes to the evidence that must be shown by the government to establish intent in

     cases involving drunk drivers.

7.   The more typical case involving a charge of assault resulting in serious bodily injury

     involves someone being injured with a knife, shovel, crutch, gun or any of many other



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         objects that have been used as weapons.          In those cases, although voluntary

         intoxication is almost always present as an issue and general intent is almost always

         established, there is the added fact that in those cases the defendant intentionally

         engaged in the the act with a weapon which resulted in some injury.

8.       Assault resulting in serious bodily injury is a general intent crime. The intent that the

         government must prove, is the intent to commit the assault. Voluntary intoxication

         combined with driving is insufficient on its own to establish the requisite intent.




                                                     Respectfully submitted,

I hereby certify that a true copy of the             FEDERAL PUBLIC DEFENDER
foregoing pleading was placed in the in              111 Lomas NW, Suite 501
box of AUSA Samuel Winder at the                     Albuquerque, NM 87102
Clerk’s Office of the U.S. District Court            (505)346-2489
this 4th day of October, 2004.
                                                      [electronically filed]
     [electronically filed]                          MICHAEL A. KEEFE, AFPD
                                                     Attorney for Defendant




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